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14
                                   UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA
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                                          SAN FRANCISCO
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     THE CENTER FOR INVESTIGATIVE                    Case No. 3:22-cv-07182-WHA
18   REPORTING and WILL EVANS,
                                                     REPLY IN SUPPORT OF PLAINTIFFS’
19                  Plaintiffs,                      CROSS-MOTION FOR SUMMARY
                                                     JUDGMENT
20         v.
                                                     Date:         Dec 14, 2023
21   UNITED STATES DEPARTMENT OF                     Time:         8:00 a.m.
     LABOR,                                          Judge:        Hon. William Alsup
22
                    Defendant.
23

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                REPLY IN SUPPORT OF PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT
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                                   1   I.     INTRODUCTION

                                   2          Defendant United States Department of Labor (“DOL”) continues to maintain that

                                   3   the generalized employee diversity data in consolidated EEO-1 Reports is confidential

                                   4   business information under FOIA Exemption 4. 5 U.S.C. § 552(e)(4). 1 That assertion is

                                   5   specious and far-fetched. To be clear: the EEO-1 Reports consist of a one-page form that

                                   6   certain federal contractors submit to OFCCP each year to show their compliance with

                                   7   federal anti-discrimination laws. See Hodge Decl. ¶ 26 (conceding that EEO-1 data helps

                                   8   DOL “proactively find and address discrimination”). The high-level data in government

                                   9   forms – is neither “commercial” or “confidential,” and thus not covered by Exemption 4,

                                  10   as plaintiffs established and Judge Westmore rightly held in Center for Investigative

                                  11   Reporting v. Department of Labor (“CIR I”), 424 F. Supp. 3d 771 (N.D. Cal. 2019).
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                                  12   II.    ARGUMENT

                                  13          A.      DOL CANNOT RELITIGATE IDENTICAL ISSUES ALREADY DECIDED IN CIR I
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                                  14          DOL’s attempt to escape the preclusive effect of CIR I should fail. DOL does not

                                  15   dispute that CIR I and this case involve the same parties. Both also turn on the same

                                  16   issues, which CIR I already decided in plaintiffs’ favor, including whether EEO-1 Reports

                                  17   are “commercial” within the meaning of FOIA Exemption 4 and whether the foreseeable

                                  18   harm standard requires disclosure. DOL is estopped from relitigating these issues.

                                  19          DOL strains to argue that collateral estoppel does not apply, citing the fact that this

                                  20   case and CIR I involved different evidence and did not involve “exactly the same”

                                  21   documents. 2 Dkt. No. 42 at 2:7-3:3, 3:12-5:23. However, the question here is whether

                                  22   1
                                         The five bellwether objectors DOL chose (this Court required six) are just 0.10% of the total
                                  23   4,796. DOL has stated it intends to identify the remaining objectors. U.S. Dep’t of Lab.,
                                       Submitter Notice Response Portal Frequently Asked Questions: 17. Does the agency plan to
                                  24   release a list of companies who objected to the FOIA release of their EEO-1 data?,
                                       https://shorturl.at/pzCLQ (visited Dec. 5, 2023). However, DOL has not done so. Without these
                                  25   identities, it is impossible to assess how representative the objectors chosen by DOL are.
                                       2
                                  26     While one district court used that language, Reporters Comm. for Freedom of the Press, 613 F.
                                       Supp. 3d at 115, it did so in dicta. Also, RCFP involved a very different records in the two cases.
                                  27   Id. at 114-15. Regardless, other cases have found that issue preclusion applies even where records
                                       are meaningfully similar and need not be the same forms (as they are here). See Osen LLC v. U.S.
                                  28   Cent. Cmd., Case No. 18-CV-6069 (BCM), 2019 WL 4805805, at **5-10 (S.D.N.Y. Sept. 30,
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                                   1   both cases involve the same issues and the same kind of information. In CIR I, Judge Westmore

                                   2   held that: (1) the kind of information in EEO-1 Reports is not “commercial” under Exemption 4

                                   3   and (2) disclosure of that kind of data would not cause foreseeable harm. 424 F. Supp. 3d at 777-

                                   4   80. These holdings are also dispositive here.

                                   5          The similar case of Nat’l Treas. Employees Union v. I.R.S. (“NTEU”), 765 F.2d

                                   6   1174, 1175-78 (D.C. Cir. 1985) (Ginsburg, J.) proves this point. In NTEU, the D.C.

                                   7   Circuit noted that, in a prior case, the same plaintiff had sued the IRS under FOIA to

                                   8   compel disclosure of “Senior Executive Performance Objectives and Expectations” IRS

                                   9   forms “for the period 1980-1981.” Id. at 1175. The district court in the prior case had held

                                  10   that the records should be disclosed “except for portions . . . which identify specific individual

                                  11   employees of the IRS” and the plaintiffs did not appeal. Id. (emphasis in original). The same
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                                  12   plaintiffs then brought a second lawsuit seeking access to “the same forms” for 1981-82. Id. The

                                  13   court held that the plaintiffs’ first case precluded their second case. Id. at 1177-78.
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                                  14          The court reasoned that both cases involved the same parties and issues and information

                                  15   “of the same kind,” and the second case did not “fit within any sensible exception.” 765 F.2d at

                                  16   1177 & n.7. It elaborated that the legal climate had not changed in plaintiffs’ favor, the requests

                                  17   in each case were identical except for the year involved, both cases implicated the same courts

                                  18   and procedures, and no other overriding concern warranted giving plaintiffs a chance to “start

                                  19   over.” Id. It also emphasized the “important judicial concern[s]” that animate collateral estoppel,

                                  20   noted plaintiffs had chosen “to pass up the opportunity they had to appeal” in the first action, and

                                  21   explained that courts suffer from “crowded dockets” so “ ‘[t]o allow that litigant a second day is a

                                  22   luxury that cannot be afforded.’ ” Id.; see also id. at 1178 (where plaintiffs “had a fair opportunity

                                  23   to present the contention […but] did not avail themselves of the [] appeal . . . they are not entitled

                                  24   to a second judgment.”).

                                  25          Here, as in NTEU, this case involves exactly the same forms and exactly the same kind of

                                  26   high-level demographic information as CIR I. Also, as in NTEU, both cases were brought in this

                                  27

                                  28   2019) (collateral estoppel applied where records not identical).
                                                                                         2
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                                   1   district and the same procedural means of adjudication. Also, as in NTUE, the legal

                                   2   climate has not changed in DOL’s favor in the handful of years since CIR I. DOL’s

                                   3   declarant admits the tides are changing in favor of Plaintiffs’ position. Moskowitz Decl. ¶

                                   4   11 (“increased the number of corporations releasing EEO-1 data prospectively.”) Also, as

                                   5   in NTEU, DOL should have known, and did know, that plaintiffs were seeking EEO-1

                                   6   Reports for additional years and contractors in 2019, when CIR I was decided. See

                                   7   Baranetsky Decl. ¶ 10. There is no reason why it could not have raised any issue it had

                                   8   with CIR I in Ninth Circuit, rather than trying to relitigate the same issues here. Further, as

                                   9   in NTEU, no other policy reason justifies giving DOL a second bite of the apple. Any

                                  10   disparity between the number of EEO-1 reports sought is immaterial. 3 Failing to apply

                                  11   CIR I would invite agencies to indefinitely relitigate the public’s right of access to EEO-1
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                                  12   Reports and similar submissions, contrary to NTEU and FOIA’s purpose.

                                  13          Last, DOL’s statement that collateral estoppel “has never been applied offensively
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                                  14   against the federal government to compel the release of documents not previously

                                  15   disclosed” makes no difference. There is no question that collateral estoppel can be

                                  16   applied by either party “in FOIA actions to prohibit relitigation of issues previously

                                  17   determined in earlier FOIA actions between the same parties,” Osen LLC, 2019 WL

                                  18   4805805, at *5, DOL cites no authority for departing from this rule. See also Dkt. No. 42

                                  19   at 3 n.2 (citing Stonehill v. I.R.S., 534 F. Supp. 2d 1, 8 (D.D.C. 2008)).

                                  20          B.      DOL DOES NOT MEET ITS BURDEN TO SHOW EXEMPTION 4 APPLIES

                                  21          DOL has not met its burden to show EEO-1 Reports are properly withheld pursuant to

                                  22   Exemption 4 under the law and facts. DOL’s Reply fails to show how the records are commercial

                                  23

                                  24   3
                                         The district court cases cited by DOL are distinguishable, because the documents at issue were
                                       different enough that a ruling in one might not resolve the other. Dkt. No. 42 at 2:25-3:3. For
                                  25   example, in Lardner v. U.S. Dep’t of Justice, 638 F. Supp. 2d 14 (D.D.C. 2009), the court held
                                  26   that an earlier case holding that names of 25 prominent clemency applicants could not be
                                       withheld under Exemption 6 (which provides qualified, case-by-case protection) did not require
                                  27   the Court to reach the same conclusion about a request for “the identities of all clemency
                                       applicants whose applications were denied during former President Bush's term in office.” There
                                  28   is no such distinction to be made here.
                                                                                          3
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                                   1   enough that withholding is justified. Instead, it continues to try to smuggle in a definition of

                                   2   “commercial” that would render the term meaningless by making any government records

                                   3   submitted by a company qualify for withholding, contrary to rules of statutory interpretation and

                                   4   well-established Exemption 4 case law. DOL’s Reply also still fails to show that contractors

                                   5   “customarily” or “actually” treat EEO-1 reports as confidential and has not established an

                                   6   assurance of privacy was provided, even under Argus Leader, 139 S. Ct. at 2366.

                                   7                   1.      EEO-1 Reports Are Not Commercial

                                   8           DOL fails to provide the requisite specificity to show EEO-1 Reports are commercial.

                                   9   First, DOL asserts an admittedly sweeping legal test for what is “commercial” by claiming it

                                  10   simply depends on whether records “relate[] to” the business. Dkt. 42 at 7 (focusing on

                                  11   “business,” not commerce and admitting this definition has “broad scope and expansive sweep”).
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                                  12   However, such a broad interpretation would render the commercial prong obsolete because

                                  13   hypothetically any documents a company would submit to the government would ostensibly be
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                                  14   “related to” the company – thus there would be no need for the test. This result is prohibited

                                  15   under basic principles of statutory interpretation. Cf. Williams v. Taylor, 529 U.S. 362, 364 (2000)

                                  16   (“the cardinal principle of statutory construction that courts must give effect, if possible, to every

                                  17   clause and word of a statute”). Indeed, this is likely why courts have fashioned a more conscribed

                                  18   legal test for commerciality, in order to avoid this restriction of statutory interpretation. See infra.

                                  19           DOL’s proposed rule also runs afoul of well-established caselaw. Multiple cases in several

                                  20   Circuits have required a more narrow reading than DOL’s stretched “related to” test. The

                                  21   narrower test, upheld by this Circuit (and others) in Watkins v. U.S. Bureau of Cust. & Border

                                  22   Protec., 643 F.3d 1189 (9th Cir. 2011), Carlson v. U.S. Postal Service, 504 F.3d 1123 (9th Cir.

                                  23   2007), and Van Bourg, Allen, Weinberg & Roger v. N.L.R.B., 728 F.2d 1270 (9th Cir. 1984),

                                  24   requires that records disclose “intimate aspects of a business” or be “intrinsically related to”

                                  25   commerce or “plainly commercial” to qualify, so not every bit of information submitted to the

                                  26   government is exempt as commercial. See Dkt. 42 at 16 (DOL admits this is part of the test).

                                  27   Indeed, Watkins clearly stands for this principle. There, the court explained that “intimate aspects

                                  28   of an importers[’]s business such as supply chains” are “plainly commercial” in order to find the
                                                                                        4
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                                   1   records qualified as commercial. 643 F.3d at 1194; see also Carlson, 504 F.3d at 1129. In

                                   2   general, this Circuit finds records commercial if they are related to a company’s products or

                                   3   finances, which DOL cannot earnestly claim here. Davin v. U.S. Dep’t of Justice, 60 F.3d 1043,

                                   4   1050 (3d Cir. 1995) (requiring a “logical connection” between records and exemptions).

                                   5          DOL tries to swat Watkins away by stating that it was not line-drawing when it stated

                                   6   “intimate aspects” are “plainly commercial,” Dkt. 42 at 15. But what else did the Court mean by

                                   7   pointing out that the records were “plainly commercial” if not creating a line drawing test? DOL

                                   8   also tries to diminish the significance of Carlson by name-calling its holding as “unremarkable”

                                   9   but remarkable or not, this is the law of this Circuit. 4 Both cases require not just any degree of

                                  10   abstract “relatedness” but something more that EEO-1 Reports simply are not. Bendick Decl. ¶¶

                                  11   10-13 (discussed more infra). Other courts also agree with this reading. New York Times Co.,
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                                  12   2021 WL 371784, at *8 (commercial is “records that…relate to the income-producing aspects of

                                  13   a business.”).
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                                  14          DOL creatively asserts that Public Citizen Health Research Group v. F.D.A. (“Public

                                  15   Citizen”), 704 F.2d 1280 (D.C. Cir. 1983), somehow expands the rule of Watkins, but that

                                  16   argument also fails for two reasons. First, Public Citizen is not the law of this Circuit. Regardless,

                                  17   even that case and other D.C. Circuit cases do not support as limitless a test, as DOL suggests.

                                  18   The court need only look at the kinds of records at issue in the D.C. cases. For instance, in Public

                                  19   Citizen the D.C. Circuit found that “profit-oriented research” could be commercial. See 704 F.2d

                                  20   at 1290. But Watkins would also find such records “commercial.” Indeed, all of the types of

                                  21   records in the D.C. cases are vastly different and inherently commercial compared to the highly

                                  22   abstracted employee demographic data in the EEO-1 Reports. In Baker & Hostetler LLP v. U.S.

                                  23   Dep't of Commerce, 473 F.3d 312, 320 (D.C. Cir. 2006) (which DOL cites) the D.C. Circuit

                                  24   found letters to be commercial because they “describe favorable market conditions for

                                  25   [companies]” unlike EEO-1 Reports that nowhere mention or impact the market or bottom line.

                                  26   4
                                         Even DOL admits this is the test when it tries to claim, “EEO-1 reports contain headcount data
                                  27   that is intrinsically commercial.” Dkt. No. 42 at 16. But DOL cannot have it both ways. It tries to
                                       employ this test but still attempts hold the position that EEO-1 Reports are merely related to
                                  28   commercial aspects of the business.
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                                   1   See also Critical Mass Energy Project v. Nuclear Regulatory Comm’n , 830 F.2d 278, 281 (D.C.

                                   2   Cir. 1987) (report on the operations of nuclear plants commercial because ‘commercial fortunes’

                                   3   could be materially affected by disclosure); Pub. Citizen , 975 F. Supp. 2d at 101 (“‘Commercial’

                                   4   is…defined to mean ‘engaged in commerce’ or…bearing on commerce.’”). All of these D.C.

                                   5   Circuit cases have, just like the Ninth Circuit, required something more than a record be broadly

                                   6   “related to” to a company – they must be used commercially or involve income-producing aspects

                                   7   of a business. As the district court stated in Besson v. U.S. Dep’t of Commerce, the company must

                                   8   have a commercial “stake” in the material. 480 F. Supp. 3d 105, 113 (D.D.C. 2020).

                                   9          In addition, the half a century old Excelsior test (beginning with Getman in 1971)

                                  10   demands that EEO-1 Reports records containing employee data, in general, cannot be

                                  11   commercial. DOL’s Reply has difficulty distinguishing this line of cases, and therefore buries its
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                                  12   analysis and tries to distinguish the cases by stating they did not disclose the number of

                                  13   employees. Dkt. 42 at 19. However, that is not true. Getman permitted disclosure of a list of all
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                                  14   employees’ eligible to vote – which de facto discloses a specific numerosity. DOL also cites

                                  15   American Airlines v. Nat’l Mediation Board, Id. at 20, but that case supports Plaintiffs’ position.

                                  16   The American Airlines court did not hold the records were commercial because they contained

                                  17   numbers, instead it found the records were commercial only because of two reasons that do not

                                  18   apply here: (1) union records are especially commercial and (2) the information was expressly

                                  19   confidential according to a regulation. 588 F.2d at 866, 870. Here, the records only disclose the

                                  20   total number of employees and a high-level breakdown of diversity. See Dkt. 42 at 19 (admitting

                                  21   “a person’s identity, without more has no commercial significance”). Additionally, American

                                  22   Airlines reaffirmed that the “commercial” test was limited. See American Airlines, Inc., 588 F.2d

                                  23   at 868 (citing cases upholding a narrow definition like Washington Research Project, Inc. v.

                                  24   HEW, 504 F.2d 238, 244-45 (1974) (research projects funded by company were not

                                  25   commercial); Brockway v. Dep’t of Air Force, 518 F.2d 1184, 1188 (8th Cir. 1975) (witness’s

                                  26   statements about airplane crash are not commercial).

                                  27          Regardless, DOL’s declarations fail to establish that EEO-1 Reports are commercial –

                                  28   because they are not. Unlike in Watkins, they are not intrinsically related to the products or
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                                   1   finances or commercially used. Indeed, the proffered declarations do not sufficiently state how

                                   2   these records reflect business strategies or commercial data. For instance, the Declaration of Ms.

                                   3   Roberson mentions multiple articles that supposedly suggest the commerciality of EEO-1

                                   4   Reports, but these articles nowhere claim that EEO-1 Reports are “commercial,” just that

                                   5   diversity data in general is good for creativity. Roberson Decl. ¶ 6 n.8 (citing article which

                                   6   nowhere states records are commercial); see also id. at ¶ 3 (citing Federal Reserve article which is

                                   7   similar). The declarations from the bellwether objectors also do not show or explain in what way

                                   8   or how the records are used for a commercial function with any specificity. See Jasinowski Decl.

                                   9   ¶ 16 (vaguely stating that EEO-1 Reports “provide insights” into Brandenburg recruitment and

                                  10   retention but no discussion of commercial use or how they provide insights).

                                  11          Instead, declarants admit the records are non-commercial. Sobieksi Decl ¶ 9 (stating EEO-
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                                  12   1 Reports “disclose workforce totals across ten job categories” and that “the purpose [of EEO-1

                                  13   Reports] is to disclose diversity information” not for commercial use). Cf. American Airlines,
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                                  14   Inc., 588 F.2d at 870 (where records “served no commercial function” they are not commercial).

                                  15   They also repeatedly wave around insufficiently conclusory and broad statements. Barcon Decl. ¶

                                  16   10 (simply stating “a diverse workforce is beneficial to DHL’s commercial success” but not

                                  17   explaining how used for commercial purposes); McKay Decl. ¶ 10 (baselessly claiming “the 10

                                  18   occupational categories provide meaningful insights into a company’s headcounts”). There is not

                                  19   a single statement in DOL’s declarations where a declarant expressly states that an EEO-1 Report

                                  20   is used for any specific commercial purpose other than recruiting. Cf. Besson v. U.S. Department

                                  21   of Commerce, 480 F. Supp. 3d 105, 113 (D.D.C. 2020) (stating poaching is insufficiently

                                  22   commercial). Such sweeping and conclusory statements do not meet DOL’s burden.

                                  23          These declarations are similar to those provided in Besson v. U.S. Department of

                                  24   Commerce, 480 F. Supp. 3d 105, 113 (D.D.C. 2020), where the names of employees were

                                  25   disclosed. Names of employees often can reveal gender, race, and ethnicity, but as the Court

                                  26   found in Besson, “it is not clear what commercial consequences Ligado risks from disclosure of

                                  27   its employees’ names.” As in Besson, DOL “says that disclosure would reveal information about

                                  28   this particular team, but it does not adequately explain how this information, if revealed, would
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                                   1   ‘provide third parties with insight into [contractors’] business strategy’ or its technical

                                   2   capabilities.” Id. Similarly, as Besson made clear DOL’s concern “over ‘poaching’ employees [is

                                   3   not] sufficient to establish its commercial nature” id., DOL “has not, for example, shown that . . .

                                   4   . disclosure would create insight into [contractor’s] business strategy or capabilities.” DOL thus

                                   5   has failed to establish that [employee data] qualifies as ‘commercial’ information. Id. at 113.

                                   6          DOL’s inability to demonstrate that these records are commercial stems from the fact that

                                   7   this task is Sisyphean. It is impossible to prove EEO-1, Type 2 reports are commercial, where the

                                   8   standardized government forms are single page grids containing generic categories of jobs,

                                   9   genders, and race to prove compliance with federal anti-discrimination laws. Cf. Argus Leader,

                                  10   139 S. Ct. at 2361 (withholding “actual sales data”). The subject headings that are allegedly

                                  11   categories of strategy, are simply columns that have demographic subject headings like “Male” or
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                                  12   “Female,” as well as “White,” “Asian,” and “Black or African American.” The headings that

                                  13   DOL alleges reveal “recruiting” strategies are generic job titles, such as “Executive/Sr. Officials
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                                  14   & Mgrs,” “Sales Workers,” “Laborers & Helpers” created by DOL, rather than any specific

                                  15   company. Id.; see also CWC Decl. ¶ 23 (generically stating that employers use data to generate

                                  16   “representational benchmarks to assist recruiting”). Nowhere do the declarations expressly state

                                  17   how EEO-1 Report categories or data are used, likely because nothing about any of these generic

                                  18   categories alone or in combination reveals a tailored commercial strategy or business structure at

                                  19   the thousands of individual companies which are each unique and distinctly diverse, as DOL

                                  20   admits. CWC Decl. ¶ 9 (stating the EEO-1 dataset identifies “over eight hundred (800) unique

                                  21   NAICs designations). Given DOL’s concession about the contractor differences, these titles no

                                  22   doubt have vastly different meanings and concepts from company to company, and reveal nothing

                                  23   about the company specific structure. Instead, these government-invented generic job titles only

                                  24   help reveal the diversity of a company’s workforce, as intended. Sobieksi Decl ¶ 9.

                                  25          Instead DOL’s only real claim in its Reply is that the records are commercial because they

                                  26   reveal the total number of employees at a company, and headcount data alone is “intrinsically

                                  27   commercial.” Dkt. 42 at 16. DOL relies on Dr. Bendick’s declaration for this statement, but Dr.

                                  28   Bendick made no such statement. While Dr. Bendick stated that workforce data is “related to” the
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                                   1   firms’ general commercial data (as could also be said of every fact about a company or its

                                   2   workforce), Dr. Bendick made clear that “none of [the EEO-1 Report’s] six items [of data]

                                   3   constitutes managerial, financial information or trade secrets.” Bendick Decl. ¶ 10. Instead, Dr.

                                   4   Bendick wrote, “[e]conomists, other business, analysts, and business managers do not generally

                                   5   consider such broad descriptive workforce data to be commercially-valuable[,]” id. ¶ 11, and that

                                   6   “[e]mployers filing EEO-1 reports typically regard those reports as nothing more than a necessary

                                   7   cost of doing business…completed solely because they are legally required . . . . In short, the

                                   8   standard practice . . . is, ‘File ‘em and forget ‘em.’” Id. ¶ 12. This is why a substantial and

                                   9   growing number of U.S. employers now voluntarily release their EEO-1 Reports, as Dr. Bendick

                                  10   explains, id. ¶ 13, n. 20, 5 and as DOL’s concedes, Moskowitz Decl. ¶ 11.

                                  11          Similarly, DOL tries to suggest, see Dkt. 42 at 17, that Dr. Bendick somehow conceded
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                                  12   that EEO-1 Reports are used for commercial purposes. See Dkt. 34 at 15 (DOL conceding that a

                                  13   commercial use or function must be shown to prove commerciality). But once again this is a
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                                  14   clever equivocation by DOL. While Dr. Bendick did concede in his declaration that DOL’s

                                  15   declarant “is correct that many firms use diversity data [in general] in designing and managing

                                  16   [their business]” he clarified that “she is incorrect that the diversity data they put to such uses are

                                  17   those in EEO-1 reports.” Bendick Decl. ¶ 33. He explained that “EEO-1 data -- particularly Type

                                  18   2 Consolidated Reports -- are almost always too broad and inappropriately structured to relate to

                                  19

                                  20   5
                                         In fact, as discussed infra, all public companies are required to release their total number of
                                       employees in SEC filings, and so it is possible that the majority of the 4,796 withholding federal
                                  21   contractors are publicly-traded and already release this information. This is likely given that most
                                  22   federal contractors are publicly-traded. See Mark Fahey and Nick Wells, Here are the 52 public
                                       companies that make the most money from the federal government, Jan. 4, 2017
                                  23   https://shorturl.at/fzGT0. So while DOL suggests that the Bellwether companies are somehow
                                       representative, it is possible this may not be the case. To confirm, DOL was supposed to disclose
                                  24   the list of all objectors, which DOL represented it would do, but it did not, so there is no way for
                                       Plaintiffs confirm how many objectors are similar or publicly traded. See DOL, Submitter Notice
                                  25   and Response Portal Frequently Asked Questions) https://shorturl.at/cOSY3 (stating “Under
                                  26   FOIA and relevant interpretive case law, the identities of objecting contractors are not exempt
                                       under FOIA Exemption 4. Accordingly, once the processing of the objector list has been
                                  27   completed…OFCCP will provide CIR with the requested list of objecting contractors”).
                                       Regardless, if this Court is convinced that the total number of employees is commercial, that
                                  28   single value could be redacted and all other datapoints released to comply with FOIA.
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                                   1   the specific internal operations that a firm would need to plan, estimate, or reward.” Id. DOL’s

                                   2   declarations bear this out. The McKay Declaration which DOL heavily relies on only mentions

                                   3   that “human resources data” more broadly is commercially used. McKay Supp. Decl. ¶ 5. The

                                   4   Roberson Declaration which is the central prop of DOL’s Reply repeatedly only claims that

                                   5   human resources data in general is commercial and the only time it states EEO-1 Reports are used

                                   6   for commercial purpose, it relies on a single article that does not prove this point. Instead, the

                                   7   article states “[t]he EEO-1 isn’t perfect,” but just “the best yardstick for workforce diversity

                                   8   available.” See Roberson Supp. Decl. ¶ 9 (citing the article As You Sow and Whistle Stop

                                   9   Capital, which “call[s] upon all companies to release their EEO-1 forms” and states that the

                                  10   article needed to rely on additional “research firm DiversIQ” because EEO-1 reports are too

                                  11   broad.) Regardless, even a finding that general diversity data revealed a correlation to some
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                                  12   financial benefit, is not the same as EEO-1 Reports revealing intrinsically commercial data.

                                  13          Last, DOL ignores case law that directly supports Plaintiffs’ argument. Most clearly, DOL
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                                  14   does not wrestle with the reality that CIR I already analyzed these EEO-1 reports and found that

                                  15   they were not commercial. Instead DOL, prevaricates and says that EEO-1 Reports were not

                                  16   created to evaluate discrimination. Dkt. 42 at 19. But these are not Plaintiffs words, these are the

                                  17   agency’s. Mr. Hodge clearly stated EEO-1s are used to help OFCCP target potential violations.

                                  18   Hodge Decl. ¶ 26. As multiple cases have held: where records are not used for commercial

                                  19   purposes they are not commercial. See also News Grp. Boston, Inc. v. Nat’l R.R. Passenger

                                  20   Corp., 799 F. Supp. 1264, 1269 (D. Mass. 1992) (salary information is not commercial); Pub.

                                  21   Citizen Health Research Grp. v. U.S. Dep’t of Health, Ed. & Welfare, 477 F. Supp. 595, 605

                                  22   (D.D.C. 1979) (health-related studies are not commercial). DOL tries to avoid this by arguing that

                                  23   even though EEO-1 reports serve a government purpose that would not mean they are not

                                  24   commercial, by relying on Argus Leader. Dkt. 42 at 19. DOL argues, Argus Leaders’ records

                                  25   were “useful to [the government’s] administration to the [food stamp program]” and commercial.

                                  26   Id. However, Argus Leader did not analyze commerciality, and regardless that case clearly

                                  27   supports Plaintiffs’ position because it involved food stamp data which is innately commercial, as

                                  28   food stamps are fungible and exchanged in commerce for goods like food, unlike EEO-1 Reports.
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                                   1                  2.      EEO-1 Reports Are Not Confidential

                                   2          DOL also fails to show that EEO-1 Reports are confidential under Argus Leader, as it is

                                   3   unable to show that the records are customarily or actually treated as confidential. See 139 S. Ct.

                                   4   at 2366 (requiring government to show “both customarily and actually”) (emphasis added). DOL

                                   5   glosses over the fact that (1) DOL has repeatedly disclosed EEO-1 data, Dkt. 42 at 20, (2) two of

                                   6   its four Bellwether objectors disclose the total number of U.S. employees and others have

                                   7   disclosed other EEO-1 data, Id., and (3) the industry practice is to disclose EEO-1 data.

                                   8          EEO-1 Reports are not “customarily” treated confidential by the objectors, the

                                   9   government, or other companies. While DOL would like to delimit the “customarily” inquiry to

                                  10   what the objecting companies attest to be their own custom, Dkt. 42 at 23, that narrow

                                  11   interpretation is not aligned with the common meaning of the word “custom” nor is it the actual
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                                  12   test. Argus Leader, subsequent cases, and the DOJ’s guidance directs courts to also consider the

                                  13   circumstances, like government disclosures and industry standards.
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                                  14          First, under FOIA, the government’s actions are strongly probative of what is

                                  15   “customarily” confidential. The FOIA statute and agency guidelines underscore that the

                                  16   government ultimately wields the power to withhold information and bears the burden to show

                                  17   that the requested documents are customarily withheld. See generally Mokhiber v. U.S. Dep’t of

                                  18   Treasury, 335 F. Supp. 2d 65, 69 (D.D.C. 2004) (citing Army Times Pub. Co. v. U.S. Dep’t of Air

                                  19   Force, 998 F.2d 1067, 1068 (D.C. Cir. 1993)); Exec. Order No. 12,600, 3 C.F.R. § 1987

                                  20   (requiring the agency to make an independent determination about whether the information can

                                  21   be withheld under Exemption 4, which can override a company’s objection); 29 C.F.R. §

                                  22   70.2(g)(5) (DOL guidelines stating the same). For years, DOL has disclosed EEO-1 Reports – in

                                  23   response to requests, not just litigation. OFCCP disclosed to the Mercury News and CNN without

                                  24   litigation. After litigation with CIR, DOL disclosed in CIR I. Similarly, in response to the present

                                  25   action, OFCCP released thousands of EEO-1 Reports and published them on their website. DOL

                                  26   tries to diminish the importance of these releases, but these repeated actions strongly lean in favor

                                  27   of the court finding EEO-1 Reports are not customarily treated as secret.

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                                   1          Second, and most importantly, many of the objecting companies’ custom is to disclose

                                   2   some kind of data within the EEO-1 Reports, which is fatal to finding the records are

                                   3   “customarily” treated as confidential, according to Argus Leader. See 139 S. Ct. at 2363 (stating

                                   4   that “retailers customarily do not disclose [] data or make it publicly available ‘in any way’”)

                                   5   (emphasis added). DOL tries to state in countless ways that much data still remains secret, but by

                                   6   DOL’s own admission, some of the objectors have made some disclosures, including the total

                                   7   number of U.S. employees, in public filings submitted to the world. Indeed, just the datapoint of

                                   8   total employee numbers can be obtained from a public company through various sources like: (1)

                                   9   a company’s annual 10-K report, required by the SEC; (2) a company’s website; (3) financial

                                  10   news websites, like Bloomberg or CNBC; (4) business research services, such as Bloomberg

                                  11   Terminal; and (5) public relations officers of the company. See generally Bendick Decl. ¶¶ 13
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                                  12   n.20, 27 So rather than not disclosing any material in any way, cf. Argus Leader, 139 S. Ct. at

                                  13   2363, identical data has been posted.
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                                  14          Courts have suggested that looking to industry standards as a whole is also useful to

                                  15   determine what qualifies as “customarily” confidential. DOL tries to sweep away these cases by

                                  16   saying that ASBL “observed in dicta” that observing other company practices may be “relevant to

                                  17   the question of confidentiality.” Dkt. 42 at 23. But ASBL is not a singular case. In Argus Leader,

                                  18   examining retail stores participating in SNAP as a whole, the Court indicated that an industry-

                                  19   wide inquiry is appropriate. Id. Indeed, despite its position in this case (that Argus Leader did not

                                  20   suggest this) the Department of Justice has indeed, in its own guidance interpreting Argus Leader,

                                  21   stated that industry standards are probative evidence of confidentiality. See Dep’t of Justice,

                                  22   Exemption 4 After the Supreme Court’s Ruling in Food Marketing Institute v. Argus Leader

                                  23   Media, https://shorturl.at/ckuBZ (“And as Argus Leader itself demonstrates, industry

                                  24   representatives can provide the necessary information regarding the customary treatment of such

                                  25   information. That option is particularly appropriate in contexts in which a large number of

                                  26   submitters would make it difficult to collect information from each submitter directly.”) (emphasis

                                  27   added) (Declaration of D. Victoria Baranetsky (“Baranetsky Decl.”), Ex. A); see also Dep’t of

                                  28   Justice, Step-by-Step Guide for Determining if Commercial or Financial Information Obtained
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                                   1   from a Person is Confidential Under Exemption 4 of the FOIA, https://shorturl.at/cqyBH (stating

                                   2   that whether “the submitter customarily keep[s] the information private . . . . may in appropriate

                                   3   contexts be determined from industry practices.”) (Baranetsky Decl., Ex. B).

                                   4          It is undisputed that posting EEO-1 Reports is a growing industry standard. DOL squarely

                                   5   admits that companies have “increased the number of corporations releasing EEO-1 data

                                   6   prospectively.” Moskowitz Decl. ¶ 11. While DOL tries to argue that federal contractors do not

                                   7   reflect a “single industry,” CWC Decl. ¶ 19 and also claims that some companies felt “pressured”

                                   8   to post them after George Floyd’s murder in 2020, Moskowitz Decl. ¶ 10, even DOL cites a

                                   9   recent article by Bloomberg Law that plainly admits “most of the largest US companies are

                                  10   sharing data on the race and gender makeup of their workforce” leading to a “historic new era of

                                  11   transparency.” See Moskowitz Decl. ¶ 10 (citing One Diversity Initiative Companies Aren’t
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                                  12   Backtracking On, Bloomberg Law News, Sept. 25, 2023). CIR’s declarant Dr. Bendick also

                                  13   shows that posting EEO-1 Reports is an industry custom, which DOL does not rebut. Bendick
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                                  14   Decl. ¶13 n. 20 (stating observers find public release of EEO-1 reports is the “‘new normal’”.)

                                  15   DOL’s only rebuttal is that to “permit evidence of competitors conduct” “would put veto power

                                  16   into the hands of those who might be most eager to learn a company’s secrets.” Dkt. 42 at 23. But

                                  17   Plaintiffs do not ask for veto power, they merely ask this Court to apply the test set forth in Argus

                                  18   Leader, in agency guidelines, and in other cases which would find DOL’s disclosures, industry

                                  19   standards and objectors’ own customs, do not show EEO-1 Reports are customarily confidential.

                                  20          Similarly, EEO-1 Reports are not actually confidential. Three of the five bellwether

                                  21   contractors post some of the EEO-1 data on their company websites and public filings. DOL tries

                                  22   to diminish the significance of these disclosures by detailing “178 cells,” are still remaining. Dkt.

                                  23   42 at 21. While it is true that not every data cell has been made public, even partial disclosure and

                                  24   the fact that many data points are observable is fatal to DOL’s case. Argus Leader is clear that

                                  25   records are secret where retailers strictly “d[id] not…make it publicly available ‘in any way’” and

                                  26   “[e]ven within a company . . . only small groups of employees usually ha[d] access to it.” 139 S.

                                  27   Ct. at 2363. Similarly, courts have repeatedly held in other FOIA cases that when some

                                  28   information contained in requested records is made public, the information should not be
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                                   1   withheld under FOIA. See Inner City Press/Comm’y on the Move v. Bd. of Governors of Fed.

                                   2   Reserve Sys., 463 F.3d 239, 248 (2d Cir. 2006); CNA Fin. Corp. v. Donovan, 830 F.2d 1132,

                                   3   1154 (D.C. Cir. 1987) (“To the extent that any data requested under FOIA are in the public

                                   4   domain, the submitter is unable to make any claim to confidentiality”); Watkins, 643 F.3d at 1196

                                   5   (same.). Applying Argus Leader, it is clear that DOL should disclose the withheld records given

                                   6   that most of the companies make available a variety of the same data points on their public

                                   7   websites. Unlike data stamped confidential, or accessible to only a small subset, the information

                                   8   is submitted to the government, and can be observed in real time by many at the company.

                                   9                  3.     EEO-1 Reports Are Not Provided With an Assurance of Privacy

                                  10          Last, there DOL asserts that “there was an assurance of privacy” here because it promised

                                  11   to protect records “to the maximum extent of the law,” Dkt. 42 at 25, but whether an assurance of
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                                  12   privacy is provided is determined by an objective test, one that DOL has not met. For instance,

                                  13   any putative promise made by OFCCP that it protects the information is contradicted by
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                                  14   OFCCP’s clear and express statements that disclosure of EEO-1 Reports is possible. See, e.g.,

                                  15   OFCCP, FOIA Frequently Asked Questions (stating here and on the federal register that EEO-1s

                                  16   may be disclosed). Additionally, DOL’s actions have undercut this promise as it has released such

                                  17   data. See id. https://shorturl.at/xIPV4 (stating “The EEO-1 data of contractors that have not

                                  18   objected will be released to CIR and published on our website in the FOIA library.”) “Courts find

                                  19   that when there is behavior by the agency showing disclosure is possible, records cannot be

                                  20   confidential.” Am. Soc’y for Prevention of Cruelty, 19 Civ. 3112 (NRB), at *5. Here, where the

                                  21   agency’s own words and actions undercut any purported promise, no assurance of confidentiality

                                  22   —implied or express—exists.
                                             C.     DISCLOSURE OF EEO-1 REPORTS IS NOT PROHIBITED BY THE TRADE SECRETS
                                  23                ACT AND WOULD CAUSE NO FORESEEABLE HARM
                                  24                  1.     Disclosure Is Not Prohibited by the Trade Secrets Act
                                  25          DOL claims that disclosure of EEO-1 Reports is prohibited by the Trade Secrets Act
                                  26   (“TSA”), 18 U.S.C. § 1905, contending that the TSA allows DOL to bypass a showing of
                                  27   foreseeable harm under FOIA’s “foreseeable harm” test (“FHT”), 5 U.S.C. § 552 (a)(8)(A) when
                                  28
                                                                                        14
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                                   1   it comes to EEO-1 Reports. See Dkt. No. 42 at 19-20. The DOL also states that “the TSA is much

                                   2   broader in scope, and encompasses far more information, than the traditional notion of ‘trade

                                   3   secrets’ contained in Exemption 4” and indicates that because “the TSA specifically encompasses

                                   4   ‘confidential statistical data,’” that it prohibits disclosure of EEO-1 Reports. See id. at 19:15-17,

                                   5   19:21-22. DOL’s position on these matters is erroneous.

                                   6           First, to the extent that the DOL states that EEO-1 Reports contain trade secrets, it has

                                   7   essentially waived that argument by omitting it in CIR I. Whittaker Corp. v. Execuair Corp., 953

                                   8   F.2d 510, 515 (9th Cir. 1992). It should not be permitted to litigate the same issue in piecemeal

                                   9   fashion, stringing along the Court and other litigants for years on topics that could have, and

                                  10   should have, been raised. See ibid.

                                  11           Second, as explained in Plaintiff’s papers, EEO-1 data does not meet the TSA’s stringent
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                                  12   definition of “trade secret” or Exemption 4. See 18 U.S.C. § 1905. The TSA prohibits disclosing:

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                                               to any extent not authorized by law . . . information [which] concerns or relates to
                                  14           the trade secrets, processes, operations, style of work, or apparatus, or to the
                                               identity, confidential statistical data, amount or source of any income, profits,
                                  15           losses, or expenditures of any person, firm, partnership, corporation, or association
                                               ....
                                  16
                                       Id.; see Pac. Architects & Engineers Inc. v. U.S. DOS, 906 F.2d 1345, 1347, n.2 (9th Cir. 1990).
                                  17
                                               Here, the records are not trade secret. “The subject of a trade secret must be secret, and
                                  18
                                       must not be of public knowledge or of a general knowledge in the trade or business.” Kewanee
                                  19
                                       Oil Co. v. Bicron Corp., 416 U.S. 470, 475 (1974); see also Ruckelshaus v. Monsanto Co., 467
                                  20
                                       U.S. 986, 1002 (1984) (“Information that is public knowledge or that is generally known in an
                                  21
                                       industry cannot be a trade secret.”). Here, EEO-1 Reports are not in any manner trade secrets with
                                  22
                                       the type of “confidential statistical data” contemplated by the TSA. Indeed, they are not secret, they
                                  23
                                       are disclosed to the DOL and the DOL has disclosed such information in the past, they are publishable
                                  24
                                       pursuant to court orders under FOIA, and contractors regularly disclose such information of their own
                                  25
                                       accord and even make it available online. See Bendick Decl. ¶¶ 27-28, 31, 34; Williams Decl. ¶ 16.
                                  26
                                               Third, the “Trade Secrets Act has no independent force in cases where [FOIA] is
                                  27
                                       involved” and “cannot override the FOIA’s obligatory disclosure provisions.” JCI Metal Prod. v.
                                  28
                                                                                           15
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                                   1   U.S. Dep’t of the Navy, No. 09-CV-2139-IEG, 2010 WL 2925436, at *8 (S.D. Cal. July 23, 2010)

                                   2   (citations omitted). “[I]f the information is not protected by Exemption 4, it is not protected by

                                   3   the [TSA].” Id. (citations omitted). Here, because Exemption 4 does not apply (as explained in

                                   4   Plaintiffs’ papers), the TSA has no applicability. See Gen. Elec. Co. v. NRC, 750 F.2d 1394, 1402

                                   5   (7th Cir. 1984) (contrasting Exemption 4 as “broadly worded” with the TSA as “almost certainly

                                   6   designed to protect that narrower category of trade secrets . . . whose disclosure could be

                                   7   devastating to the owners and not just harmful,” and elaborating that “if the [record] is not

                                   8   protected by [E]xemption 4, even more clearly is it not protected by [TSA]” (emphasis added)).

                                   9          Fourth, DOL has not met its burden of showing that EEO-1 Reports fall under the TSA

                                  10   because it fails to demonstrate that EEO-1 Reports are trade secrets, “commercial,” or

                                  11   “confidential.” See Dkt. No. 42 at 19-20; see A.C.L.U. v. U.S. D.O.J., 880 F.3d 473, 483 (9th Cir.
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                                  12   2018) (government bears burden of FOIA withholdings). DOL provides no applicable case law or

                                  13   other binding legal authority for its position and thus fails to meet its substantial burden. Id.
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                                  14   Moreover, this Court has already indicated just the opposite of what the DOL argues – i.e., that

                                  15   EEO-1 Reports are not exempt under FOIA. CIR I, 424 F.Supp.3d at 779.

                                  16                  2.      Disclosure Would Cause No Foreseeable Harm

                                  17          DOL also contends that disclosure of the EEO-1 Reports would cause foreseeable harm.

                                  18   See Dkt. No. 42 at 20-21. This is erroneous, and DOL’s assertions of “harm” in this context range

                                  19   from the implausible and unreasonable to the, frankly, farcical.

                                  20          FOIA’s “foreseeable harm” test (FHT), 5 U.S.C. § 552 (a)(8)(A) —which permits

                                  21   withholding only of a reasonably foreseeable harm of the “protected by an exemption”—is an

                                  22   objective test and, in the present matter, requires a showing of specific harm to particularized

                                  23   commercial or financial interests, with the burden on the agency to meet this high standard. See

                                  24   Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 375 F.Supp.3d 93, 98 (D.D.C. 2019); Machado

                                  25   Amadis v. Dep’t of Justice, 388 F.Supp.3d 1, 20 (D.D.C. 2019). As the Court previously found in

                                  26   CIR I (which collaterally estops this claim in the first place) DOL fails to demonstrate in any

                                  27   particularized manner, a foreseeable commercial or confidential harm that is objectively at risk.

                                  28   See CIR I, 424 F.Supp.3d at 780; see also Bendick Decl. ¶¶ 7-36; Williams Decl. ¶¶ 11-16.
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                                   1          DOL’s reliance on Greenspan is inapposite, as that case involved sensitive materials and

                                   2   analysis from the Federal Reserve of a highly confidential and internal-use-only purpose on

                                   3   matters affecting the U.S. economy. See Greenspan v. Bd. of Governors of Fed. Rsrv. Sys., 643 F.

                                   4   Supp. 3d 176, 199-203 (D.D.C. 2022). The harms in Greenspan were specific, focused, and

                                   5   concrete, with the Court honing in on the fact that the materials involved communications and

                                   6   analysis that could foreseeably affect the entire economy. See id. By stark contrast, the

                                   7   information at issue here is abstract EEO-1 data that contains no internal deliberations,

                                   8   communications or analysis and that is already largely available to the public from many

                                   9   companies with no objectively apparent resulting harms. The notion that disclosure would cause

                                  10   concrete and specific commercial or confidential harm is unreasonable and unforeseeable, and

                                  11   DOL has failed to demonstrate otherwise with specificity. See id.; see also Bendick Decl. ¶¶ 7-36;
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                                  12   Williams Decl. ¶¶ 11-16; Dkt. No. 39 at 19:15-22:19.) DOL’s reference to WP Co. is similarly

                                  13   inapposite, as that matter involved concrete harms to the interests of both PPP borrowers and
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                                  14   lenders which could, inter alia, adversely affect creditworthiness and fiscal survival. See WP Co.

                                  15   LLC v. U.S. Small Bus. Admin., 575 F.Supp.3d 114, 119-20 (D.D.C. 2021).

                                  16          D.      DOL’S “AGENCY RECORDS” JUSTIFICATION FOR WITHHOLDING 621 PLAINLY
                                  17                  RESPONSIVE EEO-1 REPORTS FAILS
                                              DOL no longer appears to contest, Dkt. No. 42 at 23-24, its initial “nonresponsiveness”
                                  18
                                       justification for withholding 621 EEO-1 reports. Dkt. No. 34-8 at 15. Now DOL asserts a new
                                  19
                                       justification: that the 621 reports are not DOL’s “agency records” because the companies that
                                  20
                                       submitted them were, it claims, not technically required to do so. Dkt. No. 42 at 21-22.
                                  21
                                              DOL’s new justification fares no better. The definition of “agency record” under FOIA,
                                  22
                                       which DOL declines to even mention, is well-established and depends on whether the agency (1)
                                  23
                                       “either create[d] or obtain[ed]” them and (2) is “in control of” them at the time of the FOIA
                                  24
                                       request. U.S. D.O.J. v. Tax Analysis, 492 U.S. 136, 144-46 (1989). Whether an agency has
                                  25
                                       “obtain[ed]” a record turns on whether the agency has, in fact, received it. See id. at 144, see also
                                  26
                                       id. at 144-45. The word “control” also has a special meaning, i.e. that “the materials have come
                                  27
                                       into the agency’s possession in the legitimate conduct of its official duties.” Id. at 145. That is all.
                                  28
                                                                                           17
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                                   1          Applying this definition, the 621 EEO-1 reports at issue here are plainly “agency records”

                                   2   that must be disclosed under FOIA. DOL admits in a supporting declaration that some submitters

                                   3   erroneously checked “federal contractor” boxes on their submission forms, Dkt. No. 43, ¶¶ 8-11,

                                   4   and that the reports were forwarded to and digitally stored by DOL’s OFCCP on its computer

                                   5   systems, in its “Equal Employment Data System” database which it notes is accessible from

                                   6   OFCCP staff members computer desktops. Dkt. No. 43 ¶¶ 3-11. Given these admissions, there is

                                   7   no question that, contrary to DOL, OFCCP “obtain[ed]” these reports and “control[led]” them. 6

                                   8          DOL also contends that disclosing these records is prohibited by 42 U.S.C. section 2000e-

                                   9   8(e). However, that section’s plain language and Sears Roebuck & Co., 509 F.2d at 529 only say

                                  10   require confidentiality from an “officer or employee of the [EEOC,]” not OFCCP. Id. at 529.

                                  11          E.      DECLARATORY RELIEF IS NEEDED TO ADDRESS DOL’S PROCESSING DELAYS
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                                  12          The Court should find and declare that DOL’s incredibly slow, and to this day

                                  13   incomplete, processing of plaintiffs’ requests violated FOIA. DOL’s failure to inform plaintiffs,
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                                  14   for years, of the extent to which responsive records were exempt or would be disclosed means

                                  15   that DOL could not possibly have provided, and did not provide, a lawful determination by the

                                  16   deadline, nor did they disclose records promptly. See Dkt. No. 39 at 24:13-19; Children’s Earth

                                  17   Found. v. Nat’l Marine Fisheries Serv., 85 F. Supp. 3d 1074, 1089 (N.D. Cal. 2015); 5 U.S.C. §

                                  18   552(a)(6)(A)(i), (B)(i) (20 working day determination deadline); 5 U.S.C. § 552(a)(6)(C)(i)

                                  19   (records must be made “promptly available”). There was no need for DOL’s extreme delays

                                  20   here. Moreover, DOL’s reliance on regulations demonstrates that its delays were based on a

                                  21   “practice” that requires declaratory relief. CIR requested this material first in 2018. Baranetsky

                                  22   Decl. ¶ 10. Courts regularly grant declaratory relief for such slow processing. See NRDC, Inc. v.

                                  23   U.S. EPA, 966 F.2d 1292, 1299-1300 (9th Cir. 1992).

                                  24   III.   CONCLUSION

                                  25          For all of these reasons, plaintiffs’ cross-motion for summary judgment should be granted

                                  26   in its entirety, and DOL’s motion for summary judgment should be denied.

                                  27
                                       6
                                         Marzen, 632 F. Supp. 785, is distinguishable because the requester was seeking records obtained
                                  28   through an investigation that was not permitted to conduct. Not so here.
                                                                                        18
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                                   1
                                       DATED: December 5, 2023       Respectfully submitted,
                                   2

                                   3
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                                                       1                                   ATTORNEY ATTESTATION
                                                       2          I, Aaron R. Field, am the ECF User whose ID and password are being used to file this
                                                       3   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that concurrence in
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                                                       5
                                                                                                                /s/ Aaron Field
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                                                                                                                AARON R. FIELD
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                                                                                                   ATTORNEY ATTESTATION
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